Case 6:15-cv-02154-PGB-G.]K Document 1 Filed 12/22/15 Page 1 of 6 Page|D 1

UNITED STATES DISTRICT COURT,
ORI.ANI)O DIVISION OF rl`H.E S'l`ATE OF FLOR]DA

CARLOS RAMOS

Plaintil"l`.
v. CASENO. ,,
;0: ;§#w,a\SH-ORL-¢)O.§W
TI-IEl-IOME DEPoT,INC. `-,;r_,_f__;__<'_g_` '§3-.
Del`endant 1
/ -_ '»»1
O

 

TCPA COMPLAINT AND JURY DEMAND

l. NOW COMES PLAINTIFF CARLOS RAMOS and brings this action to
obtain money damages against The I"Iome Depot, lnc. (THDI) arising from
seven (7) unlawful telemarketing calls that RAMOS received from THD`I, or
their authorized agents._ on RAMOS’ telephone number._ 347-855-5051, a
number that has been on the National Do-Not-Call Registi'y (DNC) since
Apri129, 2014.

THE PARTIES

2. PLAIN'I`[FF CA_RLOS `RAMOS (Rarnos or Plaintit`t") is a living person, an
individual who resides at 823 Ognon Court Kissimmee, FL 34759.

The Home Depot` lnc. is a Corporation With its headquarters located at 2455

Paces Ferry Road SE, Atlanta, GA 30339.

Page l ot` 6

14 ‘-

Case 6:15-cv-02154-PGB-G.]K Document 1 Filed 12/22/15 Page 2 ot 6 Page|D 2

3. An}_-' other third partyv acting in behall"otC Tl-lDl that may have placed a call to
RAMOS telephone number in violation of the TCPA and the National DNC
Registry.

JURlSDlCTl()N AND VENUE

4. This court has jurisdiction over the parties under 28 USC § 1331 and 47 USC
§ 22'?` et seq. Venue is this district is proper because RAl\/IOS is a resident ol.`
Osceola County, Central l*`lorida and where the unlawful telemarketing calls
were received.

FACTUAL ALLEGATIONS

 

3. PLA[N'[`IFI"` asserts that he doesn’t have any previously established business
relationship nor has he provided his written consent to THDI to receive
telemarketing ealls.

6. On Oetober 15, 2015 at 5:47 l’l\/l, RAMOS received the first of seven (7)
unlawful telemarl<eting Calls, all the ealls were received in the month ot`
October 2015. to a phone number that RAMOS has registered on the Nation
DNC Registry since Apri129. 2014.

7. On October 18__ 2015. RAMOS received a second unlawful telemarketing call._

were the telelnarketer asked for an individual that he referred to as DENNlS,

and called from what appears to be his personal cell phone. The telemarl<eter,

Page 2 ol`6

Case 6:15-cv-02154-PGB-G.]K Document 1 Filed 12/22/15 Page 3 ot 6 Page|D 3

willl"ully or kno\ving|y. did not disclose the purpose ofthe eall. as required by

law. See below:

-1?1360?'§633 _L‘t;`
g lU-'lB-'i§ 10 21»3\|’..1

Hi D»znnis |t`s F!on from the Home Depot -.~.'lieri»?~.'¢_-r '_. ou get this :m:-ssag»=.~ soon give me a tall back en m~,' cell .72? Thanl-.s
S. On Oetober 22._ 2015, RAMOS received yet another unlawful telemarketing
call originating from a number associated with 'l`l"lDI (300-466-3337) where

the caller asked for an individual that she referred to as Ken Chu. Sec below

 

i-'i :e\.f.;- manage te ‘.:r ken '.".t\u ma is .-n.it-=tllangntm+t-;m-;- t)¢_;;.;c =; 5\-.|1»-_\-:\.&:1§%t=.tt‘;m-_.;‘;n»,t.l:.iti¢n ,t:_. r._~;t=»;-:ti.-;: .-'¢-r '.'.m\-:.:.-.; F'r._=a;~; g.-.-.-» 113 ,t <.1:1 .1: 1 350 acme né;._-_-_
.m-:' -;- carr s':.*:»:-cul-:- .-;u .1 n<. cast n=;-~‘.t:!t-;a:-.:n cr.n¢ttt't.r.£r.n again ilw- r'.umi:~;r i_: 1-€'.';|11-.1\’.&-3‘.?-` ?h_-mi .r,u f.:¢ .¢tn tnt»'_.r-¢:-.l in Hc-mc_- [)-_»;:~:.t .me ..» lch fm-_-.ar¢ ic `-..;n.n.} _-.i.-!:
-.a= wm
9. Deecmber 06. 2015. l{AM()S mailed an intent to file a lawsuit letter to
THDI `s registered agent (RA) notifying the RA that he had received seven (7)
unlawful telemarketing calls. RAMOS offered 'l`lIDI an opportunity to settle
the matter without having to litigate the issue.
lU.On December 18, 2015._ RAMOS received a response from a Brian 'l`.
Evaristo, a legal representative from 'l`l lDIt where Mr. l;ivaristo claimed that

the calls were placed by a ira e harbor " error.
ll.RAMOS, based on information and belief._ avers that 'l`I-IDI, willfully or
knowing|y._ did not complied with thc lawful requirements to seek a "sqfie

harbor" dct"ense. where it is obvious. based on the eail pattern shown abovc.

that the telemarketers were not properly trained and failed to maintain and

Page 3 of6

Case 6:15-cv-02154-PGB-G.]K Document 1 Filed 12/22/15 Page 4 ot 6 Page|D 4

follow the correct procedures regarding numbers placed on the National I)NC
registry .

lZ.PLAINTlFF also avers that two of the unlawful seven (7) calls were asking
for two (2) different individuals. {Dennis and K.en (.`hu). demonstrating that
the errors were willfull)-' or klio\-vingly. unless both individuals are one of the
same. or they share the same number. there is no possibility that the number
was transposed. as alleged by Mi‘. Brian livat'isto in his response to RAMOS.
lt certainly indicates that it was due to lack of proper training on part of the
telemarketcrs. lack of timely number scrubbing andfor disregard of the
procedures laws and regulations prohibiting telemarketing calls to numbers
registered on the National I.)NC registry.

lS.RAMOS_. based on information and belicf. states that 'l`l-ll)l has failed to
follow DNC procedures, such as. DNC monthly number scrubbing record
keeping and procedures enforcemenl. poor training of their te|emarketers or
any third party telemarketer acting on their behalf. in blunt disregard to the
TCPA and the National I)NC laws and regulations

14.PLAINTIFF has requested 'I`Hl)l`s written DNC procedures not once but
twice and has not received them to this date.

l5.'I`HI)l is required by law and regulation to have written DNC procedures

available to a consumer upon demand.

l’age 4 ofé

Case 6:15-cv-02154-PGB-G.]K Document 1 Filed 12/22/15 Page 5 ot 6 Page|D 5

COUNT ONE
lé.PLAINTIFF incorporates as if fully written herein, all foregoing paragraphs
l?.'fHDI and or any agent acting of his behalf. placed a total of seven (7)
unlawful telcmarketing calls without Pl_,All\lTlFF`s written consent or an
established business relationship constitutes a Willfuliy or knowingly
violation of47 USC § 227(b)(l)(`13) and; therefore_. PLAINTIFF is entitled to
statutory treble damages in the amount of l ._500.00 per violation.
COUNT TWO
lS.PLAlN'I`IFF incorporates, as if fully written herein._ all foregoing paragraphs
l_().Dl¥`,l-"ENDANT`B conduct._ in placing the second call to RAMOS and failing
to disclose the purpose of the call as well of other disclosure requirements_.
were done willfully or kno\-vingiy._ violating 47 C.F.R. §64.1200(d`)(4) and;_
therefore l’l.AlN‘fIf"F is entitled to treble statutory damages for the amount
of 1,500.00. for the violation.
RELIEF REOUESTEI)
20.An award of trebie statutory damages for the amount of 1,500.00 for each of
the seven ('?`) willful andfor knowing, unlawful telemarketing calls, place on

RAMOS" telephone number by rl`l-IDI or any agent acting in their behalf__ a

Page 5 of 6

Case 6:15-cv-02154-PGB-G.]K Document 1 Filed 12/22/15 Page 6 ot 6 Page|D 6

number which the l’liAlN'l`l l"i`~` registered in the National DNC Registry since
April ".-_'~). 2()14.

21./\11 award of l .5(}(.).(}() for the willful andfor knowing violation from the THDI
teiemarkcter or an agent acting in their behalf. for the failure to follow the
required disclosures when placing an outbound tclemarketing call to a number
on the Nationai l)l\l(.1 Registry in violation of¢l»?r C.I~`.R. §64.1200(d)(4).

‘\

22.All other relief. legal and equitable. as permitted by law.

Rz::tfully@_ Submitted,

Car los Ramos

823 Ognon Court
Kissimmee_. FL 34759
char|ie.rantos-"ii.email.eom

 

Page 6 of6

